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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA                        CASE NO. 06-20676

                                                HONORABLE PAUL D. BORMAN
v.

D-2, KEVIN SMITH
________________________________/



                                 PROTECTIVE ORDER


      Pursuant to Federal Rule of Criminal Procedure 16(d)(1), and for the reasons

previously stated on the record, this Court finds that the government has demonstrated

good cause why the un-redacted search warrant affidavit in this case should not be

disclosed to the defense.

      IT IS HEREBY ORDERED, that the government shall disclose a copy of the

search warrant affidavit to defense counsel, subject to the following conditions that both

the government and defense counsel must comply with.


1.    The government shall provide one copy of the search warrant affidavit to defense
      attorney James Gerometta. The affidavit shall be redacted in conformity with the
      Court's ex-parte on the record directive to the government on May 25, 2007.

2.    Mr. Gerometta may not reproduce (by photocopy or otherwise) his copy of the
      affidavit. Whether inadvertent or otherwise, Mr. Gerometta may not share,
      discuss, disclose, or otherwise convey the substance of the affidavit's contents to
      his client, Kevin Smith, or any other person, with the exception of those noted in
      paragraph three. These restrictions do not expire.

3.    Mr. Gerometta may disclose the substance of the affidavit's contents with co-
      counsel, Brad Hall. Mr. Hall is subject to the limitations contained in this order.

4.    Disclosure of the affidavit is granted for the limited purpose of allowing Mr.
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      Gerometta to evaluate it in the context of deciding what, if any, challenges to
      raise to the search warrant in the instant case. In making such a challenge, if Mr.
      Gerometta wants to make arguments based upon the facts and inferences from
      the affidavit, such arguments, whether written or oral, must be made under seal.

5.    Once litigation in this Court regarding the search warrant is complete, Mr.
      Gerometta must return the copy of the warrant affidavit to the government. The
      government must maintain a sealed copy of the affidavit in the event it is
      necessary for appellate proceedings.


SO ORDERED.



                                        s/Paul D. Borman
                                        PAUL D. BORMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: May 25, 2007

                             CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S.
Mail on May 25, 2007.


                                        s/Denise Goodine
                                        Case Manager
